             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                          1:19 CV 344

DAVID L. SETTLEMYER and                     )
JANE SETTLEMYER                             )
                                            )
             Plaintiffs,                    )
v.                                          )                ORDER
                                            )
BORG-WARNER MORSE TEC, LLC;                 )
BWDAC, INC.; CARLISLE                       )
INDUSTRIAL BRAKE & FRICTION                 )
INC.; CATERPILLAR, INC.; CBS                )
CORPORATION; CERTAIN TEED                   )
CORPORATION; CONSOLIDATED                   )
TRUCK PARTS, INC.; CRA                           )
TRAILERS INC.; CUMMINS, INC.;               )
DAIMLER TRUCKS NORTH                        )
AMERICA LLC; DANA                           )
COMPANIES, LLC; EATON                       )
CORPORATION; FEDERAL-MOGUL                  )
ASBESTOS PERSONAL INJURY                         )
TRUST; FORD MOTOR COMPANY;                  )
HEAVY DUTY PARTS, INC.;                     )
GENUINE PARTS COMPANY;                      )
KELSEY-HAYES COMPANY; MACK                  )
TRUCKS, INC.; NAVISTAR, INC.;               )
PACCAR, INC.; PNEUMO ABEX, LLC              )
                                            )
           Defendants.                      )
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       This matter is before the Court on the following motions:

     1. The Motion for Admission Pro Hac Vice and Affidavit (Doc. 103) filed by

       Christopher B. Major seeking the admission of Moffatt G. McDonald;

     2. The Motion for Admission Pro Hac Vice and Affidavit (Doc. 104) filed by

                                        1

      Case 1:19-cv-00344-MR-WCM Document 106 Filed 09/25/20 Page 1 of 3
      Christopher B. Major seeking the admission of Scott E Frick; and

   3. The Motion for Admission Pro Hac Vice and Affidavit (Doc. 105) filed by

      Christopher B. Major seeking the admission of W. David Conner.

      The Motions seek leave for Mr. McDonald, Mr. Frick, and Mr. Conner to

be admitted pro hac vice and to appear on behalf of ZF Active Safety US, Inc.,

which the Motions state has been erroneously identified in Plaintiff's

Complaint as Kelsey-Hayes Company. The Motions are made by local counsel

Christopher B. Major.

      These attorneys have previously been admitted pro hac vice in this case

to appear on behalf of another defendant. The motions that led to their

admission were submitted by Mr. Major as well. See Docs. 42, 43, & 44.

      The current Motions will be allowed and Mr. McDonald, Mr. Frick, and

Mr. Conner will be admitted pro hac vice to appear on behalf of ZF Active

Safety US, Inc./Kelsey-Hayes Company, provided that they appear with local

counsel for this defendant as well.

      IT IS THEREFORE ORDERED that:

      1. The Motions for Admission Pro Hac Vice (Docs. 103, 104, & 105) are

         GRANTED and Mr. McDonald. Mr. Frick, and Mr. Conner are

         ADMITTED to appear pro hac vice in this case on behalf of ZF Active

         Safety US, Inc./Kelsey-Hayes Company while accompanied by local

         counsel.

                                      2

    Case 1:19-cv-00344-MR-WCM Document 106 Filed 09/25/20 Page 2 of 3
 2. As these attorneys have previously paid a pro hac vice filing fee, the

    Clerk is respectfully directed to issue a refund to the filing party of

    the amounts paid for the instant Motions for Admission Pro Hac Vice

    (Docs. 103, 104, & 105).


                               Signed: September 25, 2020




                                      3

Case 1:19-cv-00344-MR-WCM Document 106 Filed 09/25/20 Page 3 of 3
